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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                   4:07CR3117
                                            )
              V.                            )
                                            )                MEMORANDUM
SANTIAGO ALMAZAN RIOS,                      )                 AND ORDER
                                            )
                     Defendants.            )

     I have considered the defendant’s objection to Judge Piester’s report and
recommendation. I will deny the objection. I will adopt the report and recommendation.

       Judge Piester heard the testimony of the police officer. In fact, he asked his own
questions. (E.g., filing 47 at CM/ECF pages 33-37.) After that, he very carefully
considered this matter in a 15-page written decision. Except for the following, I have
nothing to add.

       These points are especially significant to me:

       *      Given the defendant’s cooperative attitude, the defendant’s statement
              to the police, and the defendant’s related hand gesture, a reasonable
              police officer could have construed what the defendant did and said
              to be an invitation to come into the motel room for the purpose of
              contacting Mr. Vega.

       *      Once the officers received permission to enter the room, other
              principles–having to do with officer safety, searches incident to
              arrest and the plain view doctrine–justified the additional intrusive
              police behavior.

       Accordingly, and after de novo review,
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    IT IS ORDERED that:

    1.    The report and recommendation (filing 48) is adopted.

    2.    The objection (filing 59) is denied.

    3.    The motion to suppress (filing 26) is denied.

    December 17, 2007                 BY THE COURT:

                                      S/Richard G. Kopf
                                      United States District Judge




                                         2
